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                               EXHIBIT S


                To Declaration of Micah West in Support of
                    Motion for Preliminary Injunction
                     & Motion for Class Certification
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                                                                                                          

(http://www.revealnew.org/)
                                                         
                                                        HAR




 Alaama citie agree to top jailing
 people too poor to pot ond
 Topic: And Jutice for ome (http://www.revealnew.org/topic/and-jutice-for-ome/) / Inequalit
 (http://www.revealnew.org/topic/inequalit/)


  Am Julia Harri (http://www.revealnew.org/author/am-julia-harri) / Decemer 8, 2016




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Court inCase   3:17-cv-00321-WKW-SMD
           nearl  50 Alaama citie haveDocument
                                          topped 6-23
                                                  jailingFiled 05/18/17
                                                          people         Page
                                                                   charged    3 of 8
                                                                           with
midemeanor impl ecaue the can’t afford to pot ond – a ignificant polic hift
in a tate that repeatedl ha come under fire for legal practice that punih the poor.

Prior to the reform, dozen of municipal court in Alaama required defendant to pa
a fixed ond amount for minor infraction uch a loitering, littering, and driving with
a upended licene, regardle of their financial circumtance. Thoe who could pa
were immediatel releaed. Thoe who couldn’t often would it in jail for da or week
until their cae were reolved.

That’ what happened to Chrit Dawn Varden. he wa arreted in Januar 2015
outide a Wal-Mart in Clanton and charged with hoplifting and three other
midemeanor, according to a federal cla-action lawuit
(http://www.documentcloud.org/document/3232867-VardenComplaint.html) filed 
the nonprofit group qual Jutice Under Law againt the cit of Clanton. Varden wa
taken to jail and told that he would e releaed if he paid a $2,000 ond – $500 for
each midemeanor charge.

Varden, a 41-ear-old mother of two, couldn’t pa. he had evere phical and mental
illnee that prevented her from working, according to the lawuit. he lived on $200 a
month in food tamp and had no other income. ecaue he couldn’t afford to pot
ond, he could have at in jail for a week, waiting for her firt court appearance.
However, after learning aout the lawuit, the cit releaed her from jail the da after
her arret.

Le than two month later, Varden died. ut a a reult of the cae, in eptemer 2015,
a federal judge ordered the cit to change it ail procedure.

“ail cheme uch a the one formerl enforced in the municipal court reult in the
unnecear pretrial detention of people whom our tem of jutice preume to e
innocent,” Judge Mron H. Thompon wrote in hi opinion
(http://equaljuticeunderlaw.org/wp/wp-content/upload/2015/04/Opinion-Granting-
Declarator-Judgment.pdf). “Jutice that i lind to povert and indicriminatel force
defendant to pa for their phical liert i no jutice at all.”

Jailing poor people for their inailit to pot ond ha een the uject of lawuit and
legilative reform around the countr (http://www.revealnew.org/article/new-
mexico-vote-hould-people-e-tuck-in-jail-ecaue-there-poor-2/). Recent lawuit
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have challenged                         Document
                 ail tem in California,     6-23 Illinoi,
                                             Georgia,    Filed 05/18/17 Page 4 of 8
                                                                Kana, Louiiana,
Miiippi and Texa.

The U.. Jutice Department under Preident arack Oama ha come out trongl
againt fixed ail practice, writing in an amicu rief
(http://www.documentcloud.org/document/3031807-Walker-v-Cit-of-Calhoun-U-
Amicu-rief.html)thi ummer that incarcerating “indigent individual efore trial
olel ecaue of their inailit to pa for their releae violate the Fourteenth
Amendment” and “reult in the unnecear incarceration of numerou individual
who are preumed innocent.”

According to the nonprofit Prion Polic Initiative
(http://www.prionpolic.org/report/incomejail.html), 70 percent of the nearl
650,000 people in local jail around the countr are eing held efore the are
convicted of an crime.

In 2011, U.. Attorne General ric Holder aid taxpaer pent over $9 illion in jail
cot alone to keep people in pretrial detention. Legal expert a the human cot i
alo ignificant: People can loe their jo, home and cutod of their children while
incarcerated efore their trial.

After the Clanton lawuit in Alaama, the outhern Povert Law Center and a nonprofit
group called the Civil Right Corp (http://www.civilrightcorp.org/) reviewed the ail
practice of municipal court around the tate and aw that man had imilar fixed ail
policie that the aid were uncontitutional. The group ent letter warning dozen of
Alaama municipal court
(http://www.plcenter.org/ite/default/file/alaama_citie_ail_reform_letter.pdf)
to change their ail chedule and found that mot were receptive to reform. Toda,
nearl 50 of thee municipal court have changed their policie to allow people to e
releaed on an unecured ond –a written promie to appear in court or ele pa a fine
– or conider a peron’ financial circumtance efore impoing a ond.

Hoover, a cit of 85,000 people jut outh of irmingham, reformed it ail tem in
June. ince then, the numer of municipal court defendant in jail ha dropped 
nearl 90 percent, according to uan Fuqua, director of the Hoover Municipal Court.
           Case 3:17-cv-00321-WKW-SMD
“It’ a different                         Document
                  mindet for a court,” he aid. “I6-23
                                                     think Filed
                                                           more05/18/17
                                                                 and morePage 5 of are
                                                                          people   8 eeing

that there i a etter wa of doing thi, of making ure that we can e more focued on
that peron’ life and not creating a hardhip.”

The cit of Moile alo changed it ail practice earlier thi ear and cut the numer of
people in jail on midemeanor offene  roughl half, according to the outhern
Povert Law Center.

“efore Moile changed it ail practice, man people were itting in jail for up to 30
da ecaue the could not afford to pot ail, and man of thoe people would never
even have received a jail entence,” aid Nathan mmore, chief municipal court
adminitrator for Moile. “Our ail practice reform enure that poor people or other
will not it ehind ar unnecearil.”

mmore aid the court han’t had an iue with pulic afet or people miing their
court date a a reult of the change.

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(http://twitter.com/amjharri).


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New Mexico vote:        Nation has been     Can't post bail? Jail   How the bail            Bail amendment
Should people be        slow to follow      before trial            system can penalize     passes convincingly
stuck in jail because   through on LBJ's    increases odds of       the poor
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they’re poor?           bail reform dream   conviction(http://www.revealnew.org/log/how
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mexico-vote-hould-people-e-tuck-in-
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jail-ecaue-there-poor-2/)
                  ail-reform-dream/)
                                   odd-of-conviction/)

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How Jehovah's   Poor medical care A closer look: When The Hate Report:   Who got rich off the
Witnesses leaders
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hide child abusedetention has     de­escalation kill  says hate crimes   (http://www.revealn
secrets at all costs
                deadly results,   unarmed people      still a priority
                report says
(http://www.revealnew.org/article/how-
                                  (http://www.revealnew.org/article/a- got-rich-off-the-tude
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jehovah-witnee-leader-hide-child-
                                   cloer-look-when-cop-untrained-in-
                                                     hate-report-jutice-department-a-
                  medical-care-in-immigrant-detention-
aue-ecret-at-all-cot/)       de-ecalation-kill-unarmed-people/)
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                  had-deadl-conequence-report-find/)

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